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           Exhibit A
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            STATE​ ​OF​ ​LOUISIANA
            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                        9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​1​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

               2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​January​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)​ ​and
            ending​ ​at​ ​11:59​ ​PM​ ​on​ ​December​ ​31,​​ ​2022​.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                  9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                  9/25/2017
                                                                         Date:​ ​_______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                        9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​ ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​2​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022​.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                  9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                  9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                   ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                        9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​3​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​July​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​June​ ​30,​​ ​2023​.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                         Date:​ ​_9/25/2017
                                                                                  _____________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                   ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
            entered​ ​into​ ​as​ ​of​ ​_9/25/2017
                                        ______________,(the​ ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​4​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​August​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​July​ ​31,​​ ​2023​.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
            dated__________attached​ ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                  9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​9/25/2017
                                                                               ​_______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
            entered​ ​into​ ​as​ ​of​ ​_9/25/2017
                                        ______________,(the​ ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​5​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022​.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​ ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                  9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                   ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                        9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​6​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​September​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​August​ ​31,​​ ​2023​.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                         Date:​ ​_9/25/2017
                                                                                   _____________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                  ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                         9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​7​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022​.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                  9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                  9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                  ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                             LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
            entered​ ​into​ ​as​ ​of​ ​_9/25/2017
                                         ______________,(the​ ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                               W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​8​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022​.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​Two​ ​Thousand​ ​Dollars​ ​($2,000)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                  9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                   ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
            entered​ ​into​ ​as​ ​of​ ​_9/25/2017
                                        ______________,(the​ ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​9​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022​.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​ ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                         Date:​ ​_9/25/2017
                                                                                  _____________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                  ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                        9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​10​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022​.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                         Date:​ ​_9/25/2017
                                                                                  _____________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                   9/25/2017
                                                                         Date:​ ​_______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                         9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​ ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​11​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​June​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​May​ ​31,​​ ​2023​.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                  9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                  ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                        9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​12​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
            dated__________attached​ ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                  9/25/2017
                                                                         Date:​ ​_______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
            entered​ ​into​ ​as​ ​of​ ​_9/25/2017
                                        ______________,(the​ ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​13​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​January​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​December​ ​31,​​ ​2022.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                  9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                  ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                        9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​14​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                  9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                  ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                         9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​ ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​15​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                  9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                  9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                  9/25/2017
                                                                         Date:​ ​_______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                         9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​16​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​February​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​January​ ​31,​​ ​2023.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​ ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                  ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                         9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​17​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                   9/25/2017
                                                                         Date:​ ​_______________


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            STATE​ ​OF​ ​LOUISIANA
            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                        9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​ ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​18​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​July​ ​1,​ ​2019​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​June​ ​30,​​ ​2024.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​ ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                   9/25/2017
                                                                         Date:​ ​_______________


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            STATE​ ​OF​ ​LOUISIANA
            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                         9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​ ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​19​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​August​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​July​ ​31,​​ ​2023.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                  9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                   9/25/2017
                                                                         Date:​ ​_______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                          9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​20​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​January​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​December​ ​31,​​ ​2022.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                   9/25/2017
                                                                         Date:​ ​_______________


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            STATE​ ​OF​ ​LOUISIANA
            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                        9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​21​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                   9/25/2017
                                                                         Date:​ ​_______________


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            STATE​ ​OF​ ​LOUISIANA
            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                         9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​22​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​July​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​June​ ​30,​​ ​2023.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​ ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                  9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                         Date:​ ​_9/25/2017
                                                                                  ______________


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            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                         9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​23​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​May​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​April​ ​30,​​ ​2023.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                   9/25/2017
                                                                         Date:​ ​_______________


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            STATE​ ​OF​ ​LOUISIANA
            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                          9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​24​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​February​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​January​ ​31,​​ ​2023.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​ ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                   9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                   9/25/2017
                                                                         Date:​ ​_______________


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            STATE​ ​OF​ ​LOUISIANA
            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                          9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​25​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​August​ ​1,​ ​2018​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​July​ ​31,​​ ​2023.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                  9/25/2017
            dated__________attached​ ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                         Date:​ ​_9/25/2017
                                                                                  _____________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                   9/25/2017
                                                                         Date:​ ​_______________


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            STATE​ ​OF​ ​LOUISIANA
            PARISH​ ​OF​ ​ORLEANS



                                                            LEASE​ ​AGREEMENT​ ​


                    THIS​ ​LEASE​ ​AGREEMENT​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Lease”)​​ ​is​ ​made​ ​and
                                         9/25/2017
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​   ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                              W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                   WHEREAS​,​ ​Lessor​ ​is​ ​the​ ​fee​ ​owner​ ​of​ ​certain​ ​real​ ​property,​ ​situated​ ​in​ ​Orleans​ ​Parish,
            Louisiana,​ ​such​ ​real​ ​property​ ​having​ ​a​ ​municipal​ ​street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New
            Orleans,​ ​La​ ​70119​.

                     WHEREAS​,​ ​Lessor​ ​agrees​ ​to​ ​lease​ ​to​ ​Lessee​ ​the​ ​Residential​ ​Unit​ ​located​ ​at​ ​635​ ​N.
            Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​(“Premises”).​ ​

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​as​ ​follows:

                  1. PREMISES​ ​DEFINED.​ ​ ​The​ ​provisions​ ​of​ ​this​ ​agreement​ ​pertain​ ​exclusively​ ​to​ ​a​ ​total
            of​ ​one​ ​(1)​ ​residential​ ​apartment​ ​unit,​ ​Unit​ ​26​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​ ​“Unit”).

                2. TERM.​ ​ ​ ​Five​ ​(5)​ ​years​ ​commencing​ ​on​ ​November​ ​1,​ ​2017​ ​(“Commencement​ ​Date”)
            and​ ​ending​ ​at​ ​11:59​ ​PM​ ​on​ ​October​ ​31,​​ ​2022.

                  3. RENT.​ ​ ​ ​The​ ​monthly​ ​rent​ ​shall​ ​be​ ​One​ ​Thousand​ ​ ​Five​ ​Hundred​ ​Dollars​ ​($1,500)​ ​for
            the​ ​initial​ ​lease​ ​year.​ ​All​ ​such​ ​payments​ ​shall​ ​be​ ​payable​ ​in​ ​advance​ ​on​ ​or​ ​before​ ​the​ ​first​ ​(1st)
            day​ ​of​ ​each​ ​month​ ​to​ ​Lessor​ ​via​ ​ACH​ ​wire​ ​transfer​ ​and​ ​without​ ​demand.

               4. RENT​ ​ABATEMENT.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​three​ ​(3)​​ ​months​​ ​of​ ​rent​ ​abatement
            upon​ ​occurrence​ ​of​ ​the​ ​Commencement​ ​Date.

                5. RENT​ ​INCREASE.​ ​ ​Beginning​ ​on​ ​the​ ​second​ ​anniversary​ ​of​ ​the​ ​rental​ ​commencement
            date,​ ​and​ ​each​ ​anniversary​ ​thereafter,​ ​the​ ​annual​ ​rent​ ​shall​ ​escalate​ ​by​ ​a​ ​maximum​ ​of​ ​two​ ​percent
            (2%).

                6. RENEWAL.​ ​ ​ ​Lessee​ ​shall​ ​be​ ​provided​ ​a​ ​single​ ​five​ ​(5)​ ​year​ ​renewal​ ​option,​ ​per​ ​the
            terms​ ​and​ ​conditions​ ​of​ ​the​ ​last​ ​year​ ​of​ ​the​ ​initial​ ​lease​ ​term.

               7. LATE​ ​CHARGE.​ ​ ​In​ ​the​ ​event​ ​that​ ​any​ ​payment​ ​is​ ​not​ ​made​ ​within​ ​five​ ​(5)​ ​calendar
            days​ ​of​ ​when​ ​due,​ ​Lessee​ ​shall​ ​pay​ ​to​ ​Lessor​ ​a​ ​“late​ ​fee”​ ​in​ ​the​ ​amount​ ​of​ ​10%​ ​of​ ​amount​ ​owed.
            Delinquent​ ​amounts​ ​shall​ ​bear​ ​interest​ ​from​ ​the​ ​date​ ​due​ ​until​ ​paid​ ​at​ ​the​ ​lesser​ ​of​ ​(i)​ ​12%​ ​per
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            annum​ ​or​ ​(ii)​ ​the​ ​maximum​ ​rate​ ​allowed​ ​by​ ​Louisiana​ ​Law.​ ​Lessor’s​ ​acceptance​ ​of​ ​these​ ​fees
            shall​ ​not​ ​constitute​ ​a​ ​waiver​ ​or​ ​relinquishment​ ​of​ ​any​ ​of​ ​the​ ​other​ ​rights​ ​or​ ​remedies​ ​of​ ​Lessor.

               8. ACCESS.​ ​ ​ ​Lessee​ ​may​ ​alter,​ ​re-key,​ ​and​ ​install​ ​electronic​ ​keyless​ ​door​ ​locks​ ​at​ ​the
            Premises.​ ​ ​Lessee​ ​will​ ​provide​ ​Lessor​ ​with​ ​keys​ ​or​ ​codes​ ​capable​ ​of​ ​unlocking​ ​all​ ​such​ ​re-keyed
            new​ ​locks.​ ​All​ ​door​ ​locks​ ​and​ ​keys​ ​shall​ ​be​ ​returned​ ​upon​ ​vacating​ ​the​ ​Premises.

                 9. PERMITTED​ ​USE.​ ​ ​Lessee​ ​intends​ ​to​ ​operate​ ​its​ ​business​ ​as​ ​“Short​ ​Term​ ​Rentals”​ ​as
            defined​ ​and​ ​permitted​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance.​ ​Lessor​ ​agrees
            that​ ​Lessee’s​ ​obligations​ ​to​ ​perform​ ​under​ ​this​ ​Lease​ ​are​ ​contingent​ ​upon​ ​Lessee’s​ ​ability​ ​to
            remain​ ​compliant​ ​with​ ​all​ ​statutes,​ ​codes,​ ​ordinances,​ ​orders,​ ​rules​ ​and​ ​regulations​ ​(“Laws”)​ ​of
            any​ ​municipal​ ​or​ ​governmental​ ​entity​ ​whether​ ​in​ ​effect​ ​now​ ​or​ ​later,​ ​including​ ​the​ ​New​ ​Orleans
            Comprehensive​ ​Zoning​ ​Ordinance,​ ​authorizing​ ​or​ ​permitting​ ​Lessee’s​ ​use​ ​of​ ​the​ ​Premises.​ ​

               10. ASSIGNMENT​ ​AND​ ​SUBLETTING.​ ​ Lessor​ ​acknowledges​ ​and​ ​agrees​ ​that​ ​Lessee’s
            operations​ ​entail​ ​renting​ ​and​ ​then​ ​subletting​ ​Lessor's​ ​units​ ​for​ ​periods​ ​ranging​ ​from​ ​less​ ​than​ ​30
            days​ ​to​ ​12​ ​months.​ ​As​ ​such,​ ​Lessee​ ​may​ ​enter​ ​into​ ​various​ ​sublease​ ​agreements​ ​of​ ​any​ ​duration
            concerning​ ​the​ ​units,​ ​without​ ​having​ ​to​ ​give​ ​Lessor​ ​notice​ ​of​ ​its​ ​intention​ ​to​ ​sublease​ ​and​ ​without
            having​ ​to​ ​obtain​ ​Lessor’s​ ​consent​ ​to​ ​sublease​ ​the​ ​units,​ ​and​ ​Lessor​ ​hereby​ ​agrees​ ​to​ ​such
            subleases.

                  11. TAXES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​(a.)​ ​all​ ​real​ ​property​ ​taxes​ ​and​ ​assessments​ ​on​ ​the​ ​Premises;
            (b.)​ ​all​ ​personal​ ​property​ ​taxes​ ​for​ ​property​ ​that​ ​is​ ​owned​ ​by​ ​Lessor​ ​and​ ​used​ ​in​ ​connection​ ​with
            the​ ​operation,​ ​maintenance​ ​and​ ​repair​ ​of​ ​the​ ​Premises;​ ​and​ ​c.)​ ​all​ ​costs​ ​and​ ​fees​ ​incurred​ ​in
            connection​ ​with​ ​seeking​ ​reductions​ ​in​ ​any​ ​tax​ ​liabilities​ ​described​ ​in​ ​(a.)​ ​and​ ​(b.),​ ​including,
            without​ ​limitation,​ ​any​ ​costs​ ​incurred​ ​by​ ​Lessor​ ​for​ ​compliance,​ ​review​ ​and​ ​appeal​ ​of​ ​tax
            liabilities.​ ​Lessee​ ​shall​ ​pay​ ​all​ ​business​ ​taxes,​ ​licenses,​ ​and​ ​fees​ ​levied​ ​or​ ​imposed​ ​by​ ​any
            governmental​ ​authority​ ​upon​ ​the​ ​Premises​ ​and/or​ ​business​ ​operations​ ​and​ ​activities​ ​of​ ​Lessee​ ​at
            the​ ​Premises,​ ​including​ ​without​ ​limitation,​ ​taxes​ ​and​ ​fees​ ​related​ ​to​ ​the​ ​operation​ ​of​ ​Short​ ​Term
            Rentals​ ​under​ ​the​ ​New​ ​Orleans​ ​Comprehensive​ ​Zoning​ ​Ordinance,​ ​any​ ​hotel/motel​ ​taxes,​ ​and
            the​ ​fees​ ​for​ ​occupational​ ​licenses​ ​and​ ​occupancy​ ​permits​ ​assessed​ ​by​ ​the​ ​City​ ​of​ ​New​ ​Orleans.

                  12. ​ ​INSURANCE.​ ​ ​ ​Lessor​ ​shall​ ​maintain​ ​Commercial​ ​General​ ​Liability​ ​insurance​ ​against
            claims​ ​for​ ​personal​ ​injury,​ ​death​ ​or​ ​property​ ​damage​ ​arising​ ​from​ ​or​ ​relating​ ​to​ ​the​ ​Premises,​ ​and
            property​ ​insurance​ ​insuring​ ​the​ ​Premises​ ​against​ ​loss,​ ​damage​ ​or​ ​rental​ ​interruption​ ​as​ ​Lessor
            reasonably​ ​may​ ​require,​ ​for​ ​the​ ​full​ ​replacement​ ​cost​ ​of​ ​the​ ​Premises​ ​(including​ ​all​ ​construction
            and​ ​improvements​ ​thereon),​ ​without​ ​limitation,​ ​replacement​ ​cost​ ​endorsement,​ ​agreed​ ​value
            endorsement,​ ​and​ ​vandalism​ ​and​ ​malicious​ ​mischief​ ​endorsements;​ ​flood,​ ​wind,​ ​and​ ​fire
            insurance;​ ​and​ ​umbrella​ ​excess​ ​liability​ ​insurance​ ​in​ ​such​ ​amounts​ ​as​ ​Lessor​ ​reasonably​ ​may
            require.​ ​Lessor​ ​shall​ ​further​ ​ensure​ ​that​ ​Lessee​ ​is​ ​added​ ​as​ ​an​ ​additional​ ​insured​ ​on​ ​the​ ​Lessor
            insurance​ ​policy​ ​or​ ​policies​ ​by​ ​endorsement,​ ​which​ ​endorsement​ ​shall​ ​remain​ ​in​ ​effect​ ​for​ ​the
            entire​ ​term​ ​of​ ​the​ ​Lease.
            Lessee​ ​shall​ ​maintain​ ​a​ ​policy​ ​of​ ​Commercial​ ​General​ ​Liability​ ​(bodily​ ​injury
            and​ ​Property​ ​damage)​ ​insurance,​ ​insuring​ ​against​ ​liability​ ​arising​ ​on​ ​the​ ​Premises​ ​and​ ​out
            of​ ​the​ ​ownership,​ ​use,​ ​occupancy​ ​or​ ​maintenance​ ​of​ ​the​ ​Premises,​ ​or​ ​the​ ​business

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            conducted​ ​on​ ​the​ ​Premises,​ ​including​ ​liability​ ​arising​ ​from​ ​the​ ​negligence​ ​or​ ​other​ ​fault
            of​ ​all​ ​insureds,​ ​including​ ​Lessee​ ​and​ ​Lessee's​ ​guests,​ ​and​ ​additional​ ​insured​ ​parties​ ​(the
            "Liability​ ​Policy").​ ​Lessor​ ​shall​ ​be​ ​an​ ​additional​ ​insured​ ​under​ ​the​ ​Liability​ ​Policy.​ ​The
            Liability​ ​Policy​ ​shall​ ​be​ ​a​ ​commercial-grade​ ​one​ ​million​ ​dollar​ ​property​ ​liability​ ​policy
            with​ ​four​ ​million​ ​dollar​ ​excess​ ​liability​ ​coverage,​ ​and​ ​shall​ ​be​ ​primary​ ​as​ ​to​ ​all​ ​additional
            insureds.

                13. UTILITIES​ ​AND​ ​SERVICES.​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​directly​ ​for​ ​all​ ​utilities​ ​and​ ​services
            supplied​ ​to​ ​the​ ​Premises​ ​including​ ​Wi-Fi,​ ​with​ ​the​ ​exception​ ​of​ ​individual​ ​Unit​ ​electric​ ​and​ ​cable
            TV.​ ​Lessee​ ​will​ ​reimburse​ ​Lessor​ ​for​ ​master​ ​water​ ​and​ ​gas​ ​charges​ ​and​ ​Lessor​ ​shall​ ​make
            available​ ​all​ ​documentation​ ​of​ ​such​ ​charges​ ​to​ ​Lessee​ ​for​ ​reconciliation​ ​and​ ​adjustment(s)​ ​on​ ​an
            annual​ ​basis.​ ​After​ ​receiving​ ​the​ ​results​ ​of​ ​a​ ​reconciliation​ ​and​ ​adjustment(s),​ ​Lessee​ ​may
            dispute​ ​the​ ​results​ ​within​ ​thirty​ ​(30)​ ​days​ ​by​ ​providing​ ​written​ ​notice​ ​to​ ​the​ ​Lessor​ ​of​ ​Lessee’s
            intent​ ​to​ ​exercise​ ​its​ ​audit​ ​rights.

               14. GROUNDS​ ​MAINTENANCE​ ​ ​Lessor​ ​shall​ ​be​ ​responsible​ ​for​ ​the​ ​care​ ​and
            maintenance​ ​of​ ​the​ ​grounds​ ​including​ ​landscaping​ ​and​ ​refuse​ ​removal.​ ​Lessor​ ​shall​ ​arrange​ ​for
            regular​ ​maintenance​ ​thereof​ ​so​ ​as​ ​to​ ​keep​ ​and​ ​maintain​ ​the​ ​Premises​ ​in​ ​neat,​ ​clean​ ​and​ ​good
            condition.

                  15. REPAIR​ ​AND​ ​MAINTENANCE.​​ ​ ​ ​Lessor​ ​shall​ ​pay​ ​all​ ​expenses,​ ​costs,​ ​and​ ​amounts
            of​ ​every​ ​kind​ ​or​ ​nature​ ​that​ ​Lessor​ ​incurs​ ​because​ ​of​ ​or​ ​in​ ​connection​ ​with​ ​the​ ​ownership,
            operation,​ ​management,​ ​maintenance,​ ​or​ ​repair​ ​of​ ​the​ ​Premises,​ ​and​ ​shall​ ​perform​ ​repairs
            necessary​ ​to​ ​maintain​ ​and​ ​keep​ ​the​ ​Premises​ ​and​ ​all​ ​components​ ​of​ ​it​ ​in​ ​good​ ​working​ ​order,
            suitable​ ​for​ ​residential​ ​use,​ ​including,​ ​without​ ​limitation,​ ​all​ ​electrical,​ ​mechanical,​ ​plumbing,
            fire/life​ ​safety,​ ​and​ ​other​ ​building​ ​systems​ ​of​ ​the​ ​Premises.​ ​ ​Lessee,​ ​at​ ​Lessee’s​ ​expense,​ ​shall
            immediately​ ​repair​ ​all​ ​damage​ ​to​ ​the​ ​Premises​ ​caused​ ​by​ ​Lessee​ ​or​ ​by​ ​Lessee’s​ ​agents,
            employees,​ ​invitees​ ​or​ ​customers​ ​or​ ​damage​ ​that,​ ​due​ ​to​ ​the​ ​anticipated​ ​short​ ​term​ ​rentals,
            exceeds​ ​the​ ​wear​ ​and​ ​tear​ ​attributable​ ​to​ ​normal​ ​single-tenant​ ​residential​ ​apartment​ ​use.​ ​If​ ​a
            maintenance​ ​issue​ ​for​ ​which​ ​Lessor​ ​is​ ​responsible​ ​arises,​ ​Lessee​ ​shall​ ​contact​ ​the​ ​Lessor
            promptly​ ​and​ ​the​ ​Lessor​ ​shall​ ​promptly​ ​provide​ ​such​ ​maintenance.​ ​In​ ​the​ ​event​ ​an​ ​urgent​ ​(or
            potentially​ ​urgent)​ ​maintenance​ ​issue​ ​arises,​ ​Lessee​ ​may​ ​carry​ ​out​ ​such​ ​maintenance,​ ​using
            Lessor’s​ ​preferred​ ​contractor​ ​or​ ​employee,​ ​if​ ​any,​ ​and​ ​deduct​ ​all​ ​reasonably​ ​incurred​ ​expenses
            from​ ​the​ ​next​ ​rent​ ​payment​ ​coming​ ​due,​ ​provided​ ​that​ ​(a.)​ ​The​ ​repairs​ ​were​ ​necessary,​ ​(b.)
            Lessor​ ​failed​ ​to​ ​act​ ​within​ ​a​ ​reasonable​ ​time​ ​after​ ​being​ ​notified​ ​and​ ​(c.)​ ​the​ ​price​ ​paid​ ​was
            reasonable.

                16. LESSOR​ ​ENTRY.​ ​ ​Lessor​ ​may​ ​enter​ ​the​ ​Premises​ ​to​ ​perform​ ​or​ ​facilitate​ ​preventative
            maintenance,​ ​repairs,​ ​alterations,​ ​additions​ ​or​ ​capital​ ​improvements​ ​to​ ​the​ ​Premises.​ ​Except​ ​in
            emergencies,​ ​Lessor​ ​shall​ ​provide​ ​Lessee​ ​with​ ​reasonable​ ​prior​ ​notice​ ​of​ ​entry​ ​and​ ​shall​ ​use
            reasonable​ ​efforts​ ​to​ ​minimize​ ​any​ ​interference​ ​with​ ​use​ ​of​ ​the​ ​Premises.​ ​

                17. SIGNAGE.​ ​ ​ ​Lessee​ ​may​ ​install,​ ​at​ ​Lessee’s​ ​expense,​ ​signage​ ​on​ ​the​ ​Premises.​ ​ ​The​ ​size,
            design​ ​and​ ​manner​ ​of​ ​installation​ ​of​ ​all​ ​signs​ ​by​ ​Lessee​ ​shall​ ​be​ ​subject​ ​to​ ​the​ ​prior​ ​written
            approval​ ​of​ ​Lessor.​ ​Any​ ​permitted​ ​signs​ ​shall​ ​be​ ​maintained​ ​in​ ​compliance​ ​with​ ​applicable

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            governmental​ ​rules​ ​and​ ​regulations​ ​governing​ ​such​ ​signs.​ ​Lessee​ ​shall​ ​be​ ​responsible​ ​to​ ​Lessor
            for​ ​any​ ​damage​ ​caused​ ​by​ ​the​ ​installation,​ ​use​ ​or​ ​maintenance​ ​of​ ​said​ ​signs.

                  18. HAZARDOUS​ ​MATERIALS​.​ ​ ​ ​Lessee​ ​shall​ ​not​ ​keep​ ​on​ ​the​ ​Premises​ ​any​ ​item​ ​of​ ​a
            dangerous,​ ​flammable​ ​or​ ​explosive​ ​character​ ​that​ ​might​ ​unreasonably​ ​increase​ ​the​ ​danger​ ​of​ ​fire
            or​ ​explosion​ ​on​ ​the​ ​Premises​ ​or​ ​that​ ​might​ ​be​ ​considered​ ​hazardous​ ​or​ ​extra​ ​hazardous​ ​by​ ​any
            responsible​ ​insurance​ ​company.

                 19. ANIMALS.​​ ​ No​ ​Pets​ ​are​ ​allowed​ ​on​ ​the​ ​Premises.

               20. NOTICE.​ ​ ​Any​ ​notice​ ​required​ ​or​ ​permitted​ ​under​ ​this​ ​Lease​ ​or​ ​under​ ​state​ ​law​ ​shall​ ​be
            deemed​ ​sufficiently​ ​given​ ​or​ ​served​ ​if​ ​sent​ ​by​ ​United​ ​States​ ​certified​ ​mail,​ ​return​ ​receipt
            requested,​ ​addressed​ ​as​ ​follows:

                      If​ ​to​ ​Lessor​ ​to:
                      635​ ​N.​ ​Scott​ ​St.,​ ​LLC
                      147​ ​Carondelet​ ​Street,​ ​Suite​ ​1137
                      New​ ​Orleans,​ ​La​ ​70130

                      If​ ​to​ ​Lessee​ ​To:
                      Sonder​ ​USA,​ ​Inc.
                      5600​ ​Jefferson​ ​Highway,​ ​Suite​ ​278
                      Elmwood,​ ​LA​ ​70112

                21. EXCLUSIVE​ ​RIGHT(s).​ ​ ​ ​Lessor​ ​grants​ ​Lessee​ ​the​ ​exclusive​ ​right(s)​ ​of​ ​the​ ​Permitted
            Use(s)​ ​of​ ​the​ ​above​ ​stated​ ​Premises,​ ​subject​ ​to​ ​the​ ​terms​ ​and​ ​conditions​ ​of​ ​this​ ​Lease.​ ​The
            provisions​ ​of​ ​this​ ​Section​ ​shall​ ​(unless​ ​extended​ ​in​ ​writing​ ​by​ ​the​ ​Parties)​ ​automatically
            terminate​ ​as​ ​of​ ​the​ ​expiration​ ​of​ ​this​ ​Lease.

                  22. GOVERNING​ ​LAW​ ​AND​ ​JURISDICTION.​ ​ ​ ​The​ ​parties​ ​to​ ​this​ ​Lease​ ​understand​ ​and
            agree​ ​that​ ​the​ ​provisions​ ​of​ ​this​ ​lease,​ ​between​ ​them,​ ​has​ ​the​ ​effect​ ​of​ ​law,​ ​but​ ​in​ ​reference​ ​to
            matters​ ​for​ ​which​ ​this​ ​lease​ ​does​ ​not​ ​provide,​ ​this​ ​Lease​ ​shall​ ​be​ ​governed​ ​by​ ​and​ ​construed​ ​in
            accordance​ ​with​ ​the​ ​Ordinances​ ​of​ ​the​ ​City​ ​of​ ​New​ ​Orleans,​ ​the​ ​laws​ ​of​ ​the​ ​State​ ​of​ ​Louisiana
            and​ ​the​ ​federal​ ​laws​ ​of​ ​the​ ​United​ ​States;​ ​and​ ​irrevocably​ ​submit​ ​to​ ​the​ ​exclusive​ ​jurisdiction​ ​of
            the​ ​courts​ ​of​ ​competent​ ​jurisdiction​ ​in​ ​the​ ​State​ ​of​ ​Louisiana​ ​with​ ​respect​ ​to​ ​all​ ​matters​ ​relating
            to​ ​this​ ​agreement.

                  23. CASUALTY​ ​AND​ ​FORCE​ ​MAJEURE.​ ​ ​ ​If​ ​any​ ​of​ ​the​ ​Premises​ ​is​ ​destroyed​ ​or
            materially​ ​damaged​ ​by​ ​fire​ ​or​ ​other​ ​unforeseen​ ​event​ ​(Force​ ​Majeure)​ ​not​ ​due​ ​to​ ​any​ ​fault​ ​or
            neglect​ ​of​ ​Lessee,​ ​and​ ​thus​ ​becomes​ ​wholly​ ​unfit​ ​for​ ​occupancy,​ ​then​ ​Lessee​ ​shall​ ​be​ ​entitled​ ​to
            an​ ​abatement​ ​of​ ​rent​ ​for​ ​the​ ​entire​ ​period​ ​during​ ​which​ ​the​ ​Premises​ ​is​ ​unfit​ ​for​ ​occupancy.
            Lessee​ ​may​ ​thereupon​ ​also​ ​choose​ ​to​ ​terminate​ ​this​ ​lease​ ​as​ ​of​ ​the​ ​date​ ​of​ ​the​ ​casualty.

                 24. WARRANTY.​ ​ ​ ​Lessor​ ​warrants​ ​that​ ​the​ ​Premises​ ​are​ ​in​ ​good​ ​condition,​ ​unless

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            otherwise​ ​noted.​ ​Lessee​ ​acknowledges​ ​that​ ​he​ ​has​ ​been​ ​provided​ ​the​ ​opportunity​ ​to​ ​inspect​ ​the
            Premises​ ​and​ ​accepts​ ​it​ ​in​ ​its​ ​current​ ​condition​ ​and​ ​agrees​ ​to​ ​keep​ ​it​ ​in​ ​same​ ​condition​ ​during​ ​the
            term​ ​of​ ​this​ ​lease​ ​at​ ​his​ ​expense​ ​and​ ​return​ ​it​ ​to​ ​Lessor​ ​in​ ​the​ ​same​ ​or​ ​better​ ​condition​ ​at
            termination​ ​of​ ​this​ ​lease,​ ​normal​ ​decay,​ ​wear​ ​and​ ​tear​ ​excepted.

                  25. MODIFICATION.​ ​ ​ ​The​ ​parties​ ​hereby​ ​agree​ ​that​ ​this​ ​document​ ​contains​ ​the​ ​entire
            agreement​ ​between​ ​the​ ​parties​ ​and​ ​this​ ​Lease​ ​shall​ ​not​ ​be​ ​modified,​ ​changed,​ ​altered​ ​or​ ​amended
            in​ ​any​ ​way​ ​except​ ​through​ ​a​ ​written​ ​amendment​ ​signed​ ​by​ ​all​ ​of​ ​the​ ​parties​ ​hereto.

                26. SURRENDER​ ​AND​ ​HOLD​ ​OVER.​​ ​ ​ ​On​ ​the​ ​expiration​ ​date,​ ​Lessee​ ​shall​ ​surrender​ ​to
            Lessor​ ​the​ ​Premises​ ​and​ ​all​ ​alterations​ ​in​ ​a​ ​first​ ​class​ ​and​ ​clean​ ​condition,​ ​less​ ​any​ ​normal​ ​wear
            and​ ​tear,​ ​free​ ​of​ ​trash​ ​and​ ​debris.​ ​If​ ​Lessee​ ​with​ ​Lessor’s​ ​consent,​ ​remains​ ​in​ ​possession​ ​of​ ​the
            Premises​ ​after​ ​the​ ​Expiration​ ​Date,​ ​such​ ​possession​ ​by​ ​Lessee​ ​ ​shall​ ​be​ ​deemed​ ​to​ ​be​ ​a
            month-to-month​ ​tenancy​ ​terminable​ ​on​ ​30-days’​ ​written​ ​notice​ ​given​ ​at​ ​any​ ​time​ ​by​ ​Lessor​ ​or
            Lessee.​ ​All​ ​provisions​ ​of​ ​this​ ​Lease​ ​except​ ​for​ ​those​ ​pertaining​ ​to​ ​Term​ ​shall​ ​apply​ ​to​ ​any​ ​such
            tenancy.

                27. ADDITIONAL​ ​PROVISIONS;​ ​DISCLOSURES.​ ​ ​ ​This​ ​Agreement​ ​is​ ​submitted​ ​with
            Lessor’s​ ​Disclosure​ ​of​ ​Information​ ​on​ ​Lead-Based​ ​Paint​ ​and​ ​Lead-Based​ ​Paint​ ​Hazards​ ​dated
                 9/25/2017
            dated__________attached​         ​hereto​ ​and​ ​forming​ ​part​ ​of​ ​this​ ​lease.

                28. PARKING​ ​LOT​.​ ​ ​ ​Lessee​ ​shall​ ​have​ ​full​ ​use​ ​and​ ​access​ ​to​ ​all​ ​parking​ ​lot(s)​ ​and/or
            facilities​ ​on​ ​the​ ​Premises.​ ​Lessor​ ​is​ ​responsible​ ​for​ ​all​ ​maintenance​ ​and​ ​repairs​ ​of​ ​the​ ​parking
            lot(s).


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Agreement​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                         Lessor(s):

                                                                         By:​ ​___________________________________

                                                                         Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                  9/25/2017
                                                                         Date:​ ​______________


                                                                         Lessee:

                                                                         By:​ ​___________________________________

                                                                         Name:​ ​Sonder,​ ​USA,​ ​Inc.            ​​
                                                                                   9/25/2017
                                                                         Date:​ ​_______________


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   The Standard Form (revised 10/01) of:                                                                                                      For exclusive use of REALTORS®
   New Orleans Metropolitan Association of REALTORS ®, Inc.                                                                                   REALTOR® Boards provide this form as an aid,
                                                                                                                                              and not as legal advice. REALTOR ® members
                                                                                                                                              assume no responsibility for unauthorized use.

                    Disclosure of Information on Lead-Based Paint and Lead-Based Paint Hazards
                                                               Target Housing Sale                              X Target Housing Rental or Lease
   PROPERTY ADDRESS: 635 N Scott St, New Orleans, LA 70119-4816
   Lead Warning Statement for Target Housing Sales
   Every PURCHASER of any interest in residential real property on which a residential dwelling was built prior to 1978 is notified that such
   property may present exposure to lead from lead-based paint that may place young children at risk of developing lead poisoning. Lead
   poisoning in young children may produce permanent neurological damage, including learning disabilities, reduced intelligence quotient,
   behavioral problems, and impaired memory. Lead poisoning also poses a particular risk to pregnant women. The SELLER of any interest
   in residential real property is required to provide the PURCHASER with any information on lead-based paint hazards from risk
   assessments or inspections in the SELLER'S possession and notify the PURCHASER of any known lead-based paint hazards. A risk
   assessment or inspection for possible lead-based paint hazards is recommended prior to purchase.
   Lead Warning Statement for Target Housing Rentals and Leases
   Housing built before 1978 may contain lead-based paint. Lead from paint, paint chips, and dust can pose health hazards if not taken care
   of properly. Lead exposure is especially harmful to young children and pregnant women. Before renting pre- 1978 housing, Land- lords
   must disclose the presence of known lead-based paint and lead-based paint hazards in the dwelling. Tenants must also receive a
   Federally approved pamphlet on lead poisoning prevention.

   SELLER'S/LESSOR'S Disclosure (answer a and b and initial both)
                           (a) Presence of lead-based paint and/or lead-based paint hazards (check one below):
                               Known lead-based paint and/or lead-based paint hazards are present in the housing (explain).


                                             X SELLER has no knowledge of lead-based paint and/or lead-based paint hazards in building.
                                             (b) Records and reports available to the SELLER (check one below):
                                                 SELLER has provided the PURCHASER with all available records and reports pertaining to lead-based
                                                 paint and/or lead based-paint hazards in the housing (list documents below).


                                              X SELLER has no reports or records pertaining to lead-based paint and/or lead based-paint hazards in
                                                the housing.
   PURCHASER'S Acknowledgment (answer c, d and e and initial all)
   LESSEE'S Acknowledgment (answer c and d and initial both)
                                             (c) PURCHASER/LESSEE has received copies of all information listed above.
                                             (d) PURCHASER/LESSEE has received the pamphlet "Protect Your Family From Lead in Your Home".
                                             (e) PURCHASER has (check one below): (not required for LESSEE)
                                                 Received a 10-calendar day opportunity (or mutually agreed upon period) to conduct a risk
                                                 assessment or inspection for the presence of lead-based paint and/or lead-based paint hazards;
                                             X Waived the opportunity to conduct a risk assessment or inspection for the presence of lead-based
                                                 paint and/or lead-based paint hazards.
   AGENT'S Acknowledgment (answer f and initial)
                           (f) Agent has informed the SELLER/LESSOR of the SELLER'S/LESSOR'S obligations under 42 U.S.C.
                               4852(d) and is aware of his/her responsibility to ensure compliance.
   Certification of Accuracy
   The following parties have reviewed the information above and certify, to the best of their knowledge, that the information provided by the
   signatory is true and accurate.
                                                9/25/2017                                                                    9/25/2017
   SELLER/LESSOR 635 N. Scott St., LLC                                           Date                   PURCHASER/LESSEE Sonder USA, Inc.                                        Date

   SELLER/LESSOR                                                                 Date                   PURCHASER/LESSEE                                                         Date


   AGENT                                                                         Date                   AGENT                                                                    Date
    Soniat Realty, 3940 Canal Street New Orleans, LA 70119                                                                   Phone: 504-723-7306        Fax:                1228 Annunciation
    Julia Soniat                                  Produced with zipForm® by zipLogix 18070 Fifteen Mile Road, Fraser, Michigan 48026 www.zipLogix.com
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            STATE​ ​OF​ ​LOUISIANA
            PARISH​ ​OF​ ​ORLEANS



                                                          LEASE​ ​ADDENDUM​ ​


                    THIS​ ​LEASE​ ​ADDENDUM​​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​the​ ​“Addendum”)​​ ​is​ ​made​ ​and
            entered​ ​into​ ​as​ ​of​ ​_______________,(the​
                                          9/25/2017            ​“Effective​ ​Date”),​ ​by​ ​and​ ​between,​ ​635​ ​N​ ​Scott​ ​St.,
            LLC​ ​(“Lessor”)​,​ ​a​ ​Louisiana​ ​limited​ ​liability​ ​company​ ​and​ ​Sonder​ ​USA,​ ​Inc.​ ​(“Lessee”)​,​ ​a
            Delaware​ ​Corporation.

                                                          W​ ​I​ ​T​ ​N​ ​E​ ​S​ ​S​ ​E​ ​T​ ​H​ ​:

                      WHEREAS​,​ ​Lessor​ ​and​ ​Lessee​ ​(hereinafter​ ​referred​ ​to​ ​as​ ​“the​ ​Parties”)​ ​entered​ ​into​ ​a
            Lease​ ​Agreement​ ​on​ ​September​ ​25,​ ​2017​ ​for​ ​twenty-six​ ​(26)​ ​residential​ ​units​ ​having​ ​a​ ​municipal
            street​ ​address​ ​of​​ ​635​ ​N.​ ​Scott​ ​Street,​ ​New​ ​Orleans,​ ​La​ ​70119​.

                   NOW,​ ​THEREFORE,​​ ​for​ ​and​ ​in​ ​consideration​ ​of​ ​the​ ​covenants​ ​and​ ​obligations
            contained​ ​herein,​ ​the​ ​parties​ ​hereto​ ​hereby​ ​agree​ ​to​ ​this​ ​Lease​ ​Addendum​ ​as​ ​follows:

                 1. POSSESSION​ ​DATE.​ ​ ​ ​The​ ​earlier​ ​to​ ​occur​ ​of​ ​either​ ​(i)​ ​the​ ​“Commencement​ ​Date”​ ​as
                    defined​ ​on​ ​each​ ​individual​ ​lease​ ​or​ ​(ii)​ ​Thirty​ ​(30)​ ​days​ ​after​ ​Lessee​ ​receives​ ​written
                    notice​ ​from​ ​Lessor​ ​of​ ​current​ ​Unit​ ​leases​ ​that​ ​terminate​ ​or​ ​expire​ ​prior​ ​to​ ​the
                    Commencement​ ​Date.


                  IN​ ​WITNESS​ ​WHEREOF​,​ ​Lessor​ ​and​ ​Lessee​ ​have​ ​each​ ​executed​ ​this​ ​Lease
            Addendum​ ​as​ ​of​ ​the​ ​date​ ​first​ ​above​ ​written:


                                                                        Lessor(s):

                                                                        By:​ ​___________________________________

                                                                        Name: 635​ ​N​ ​Scott​ ​St.,​ ​LLC
                                                                                  9/25/2017
                                                                        Date:​ ​______________


                                                                        Lessee:

                                                                        By:​ ​___________________________________

                                                                        Name:​ ​Sonder,​ ​USA,​ ​Inc.        ​​

                                                                        Date:​ ​_______________
                                                                                  9/25/2017
